Case 2:03-cr-20388-.]DB Document 70 Filed 07/05/05 Page10f4 Pa$?l

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LARFW EVANS
Pauia Skahan Retained
Defense Attorney
202 Adams
illiemphis, TN 38103

 

 

JUDGMENT lN A CFiliilliNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count1 of the indictment on August 05, 2004. Accordingly,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title a section MLM offense Number(s)
Conc|uded
18 U.S.C. § 922 (Q) Feion in Possession of Ammunition 10!24/2003 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996

Count 2 is dismissed on the motion of the United States.

iT iS FURTHEFI ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 2/24/1978 June 30, 2005
Deft’s U.S. ii/iarshai No.: 19242-076

Defendant's iviailing Address'

3974 Overton Crossing l
Niernphis, TN 38127

J. DAN|EL BREEN
U |TED STATES DiSTFiiCT JUDGE

Ju|y 5 , 2005

This document entered on the docket sheet in compliance
with Fiule 05 and/or 32(0) FFiCrP on 12 §§ 12 5

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PROBAT|ON

The defendant is hereby placed on probation for a term of 3 Vears.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearml ammunitionl destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth below). lf this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such file
or restitution.

The defendant shall refrain from any unlawful use of a controlled substancel The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDAF{D CONDlTiONS OF SUPERV|S|ON

1 . The defendant shall not leave thejudicia| district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shail notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributedl or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10.

11.

12.

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirementl

lf this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

t. Participate in substance abuse testing and treatment programs as directed by the
probation officer.

2. Obtain a GED or additional education as directed by the probation officer.

3. Seek and maintain full time employment as directed by the probation officer.

4 Cooperate with DNA collection as directed by the probation officer.

CRIM|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance

with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Tota| Assessment Tota| Fine Tota| Restitution

$100.00
The Special Assessment shall be due immediately.

FINE
No fine imposed.

REST|TUTlON
Nc Ftestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:03-CR-20388 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Paula Skahan

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Ste. 800

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Jerry Stokes

LAW OFFICE OF JERRY STOKES
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Ste. 2601

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

